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                                                                                                 2022 Sep-09 AM 10:35
                                                                                                 U.S. DISTRICT COURT
                                                                                                     N.D. OF ALABAMA



                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ALABAMA
                               SOUTHERN DIVISION                                          '.'.:)
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 IN RE: BLUE CROSS BLUE SHIELD                       )   Master File 2:13-CV-20000-RDP
 ANTITRUST LITIGATION                                )
 (MDL NO. 2406)                                      )
                                                     )




                                     NOTICE OF APPEAL

       Notice is hereby given that David G. Behenna, a class member, hereby appeals to the
United States Court of Appeals for the Eleventh Circuit from the District Court's: (1) Order
Awarding Subscriber Plaintiffs' Counsel Attorneys' Fees and Expenses, entered on August 9,
2022 (Doc. # 2932); and (2) Final Order and Judgment Granting Approval of Subscriber Class
Action Settlement and Appointing Settlement Administrator, as entered on August 9, 2022 (Doc.
# 2931) (limited to provisions in the Final Order that are related to the Attorneys' Fees and
Expenses Order), each Order filed in relation to Case 2:13-CV-20000-RDP.



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                                      IN THE UNITED STATES DISTRICT COURT
                                     FOR THE NORTHERN DISTRICT OF ALABAMA
                                               SOUTHERN DIVISION


                                                                      )
                IN RE: BLUE CROSS BLUE SHIELD                         )       Master File 2:13-CV-20000-RDP
                ANTITRUST LITIGATION                                  )
                (MDL NO. 2406)                                        )
                                                                      )


                                               CERTIFICATE OF SERVICE

                       I certify that on September 7, 2022, I mailed via USPS First Class Mail David G.
              Behenna's Notice of Appeal to the parties set forth, below.


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